          Case 1:16-cv-00687-SS Document 124 Filed 04/06/18 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
                                                                                CLERKU.:.       T.i COURT
                                                                               WESTERN       ;L9'EXAS
PILOT ENERGY SOLUTIONS, L.L.C.,
               Plaintiff,
                                                                                            .:'l/ çFp
-vs-                                                                 CAUSE NO.:
                                                                   AU-16-CA-00687-SS
OXY USA, INC.,
                        Defendant.



                                           JUDGMENT

       BE IT REMEMBERED on this day the Court entered its order granting Defendant Oxy

USA, Inc. (Oxy)'s Motion for Summary Judgment of Non-Infringement [#1081, and thereafter

enters the following:

               IT IS ORDERED, ADJUDGED, and DECREED that Plaintiff Pilot Energy

       Solutions, L.L.C. TAKE NOTHING in this cause against the Defendant Oxy USA, Inc.,

       with all costs of suit to be borne plaintiff, for which let execution issue.


                            /4
       SIGNED this the      ,   day of April 2018.




                                                  SA1277'
                                                  SENIOR UNITED STATES DISTRICT JUDGE




                                                  I
